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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGIA
                                 BRUNSWICK DIVISION


UNITED STATES OF AMERICA            :
                                    :
                                    :
                                    :
v.                                  :                   Case No.: 2:18-CR-14-LGW-BWC
                                    :
                                    :
                                    :
ANDREW JACKSON                      :
____________________________________:

                        DEFENDANT ANDREW JACKSON’S
                  PROPOSED VOIR DIRE EXAMINATION QUESTIONS

       COMES NOW, the Defendant, ANDREW JACKSON, by and through his undersigned

counsel, pursuant to local rules and the rules of this Honorable Court, hereby files these proposed

voir dire questions and in support states as follows:

   I. Contacts with the Prosecution

           a. Do any of you know anyone who has or does work for the United States

               Attorney’s Office or the United States Department of Justice? If yes,

                   i. Who do you know?

                   ii. Where does this person work?

                  iii. What is your relationship to this person?

                  iv. Will this relationship cause you to believe that the Defendant is likely

                       guilty of the charges in this case?

                   v. Will this relationship cause you to believe that the government could not

                       wrongfully charge someone? Intentionally or unintentionally?
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II. Right to a Fair Trial and Prejudicial Opinion on Drug Use and Drug Trafficking

       a. The crimes charged in the indictment are illegal. No one in this trial will tell you

           otherwise. Because these crimes are illegal, it would not be unusual for any

           members of this jury panel to have strong negative feelings about the Defendant

           as a result. That said every defendant in our criminal justice system has a right to

           a fair trial. For those of you with strong negative opinions:

               i. Does your strong negative opinion affect your ability to be a fair and

                  impartial juror in this case?

III. Presumption of Innocence

       a. An indictment is not evidence of guilt. Every person accused of a crime is

           presumed to be innocent until proven guilty. Each and every element of a crime

           charged must be proven to you beyond a reasonable doubt.

               i. Do any of you have difficulty with the legal principle of the presumption

                  of innocence?

              ii. Do any of you have difficulty with the rule of law that an indictment is not

                  evidence of guilt?

              iii. Do any of you have difficulty with the legal principle that because a

                  person is arrested, charged with a crime and on trial is not evidence that he

                  committed a crime?

              iv. Do any of you have any preconceived notions about my client’s guilt in

                  this case because he is present in court awaiting trial?

              v. Do any of you have any preconceived notions about my client’s guilt in

                  this case because he is referred to as a “Defendant”?
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IV. Guilt by Association/Indictment is Not Evidence of Guilt

       a. Does anyone agree with the following statement:

               i. Since the Defendant was indicted, he must be guilty of something?

              ii. Since the Defendant has co-defendants he must be guilty of something?

              iii. Since the Defendant has co-defendants who pleaded guilty and cooperated

                  with the government he must be guilty of something?

V. Burden of Proof/Reasonable Doubt

       a. The burden of proving each element of each crime beyond a reasonable doubt

           rests solely with the prosecution. This burden never shifts to the defendant. The

           defendant in a criminal case never has an obligation to prove her innocence or

           offer any proof relating to her innocence.

               i. Does anyone disagree with these principles of law?

VI. Right Not to Testify

       a. Every defendant in a criminal case has the right not to testify and you may not

           consider a defendant’s decision not to testify at any stage of the proceeding,

           including, most importantly, jury deliberations.

               i. Does anyone think a defendant should testify on her own behalf?

              ii. Does anyone think that if a defendant does not testify he is hiding

                  something from the jury?

              iii. Does anyone think that if a defendant does not testify he is guilty?

VII.   Guilt by Association

       a. The law requires a jury to consider the evidence against each defendant

           individually. Is there anyone on the panel who would have a difficult time
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           considering the evidence against the defendant, even if all of the other defendants

           in this case pleaded guilty?

VIII.   Catch-All Question

        a. Is there anyone who sits here now that believes that the defendant must have done

           something or else he would not be on trial?

        b. Is there anyone who sits here now that has already formed any opinion, however

           strong, of the guilt of the defendant?

        c. Is there anyone who sits here now that for whatever reason is unwilling or unable

           to serve a totally fair and impartial juror in this case?
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                                   CONCLUSION

       WHEREFORE, the Defendant, ANDREW JACKSON, by and through his undersigned

counsel respectfully requests this Honorable Court ask the potential jury members these

proposed voir dire questions.


                                                     Respectfully submitted,

                                                     By: /s/ Mark J. O'Brien
                                                     Mark J. O'Brien, Esquire
                                                     Florida Bar No.: 0160210
                                                     511 West Bay Street
                                                     Suite 330
                                                     Tampa, Florida 33606
                                                     Direct:        (813) 228-6989
                                                     Email: mjo@markjobrien.com
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY on January 23, 2019 I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system which will then send notice of electronic filing

to all counsel of record.

                                                         By: /s/ Mark J. O'Brien
                                                         Mark J. O'Brien, Esquire
